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DAVID P. BEITCHMAN (SBN 198953)

  
    
    

 
 

  

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ANDRE BONIADI (SBN 266412) waren
BETKCHMANS. ZEKIAN, P.C — |
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Attorneys for Plaintiff,
TONY MARRONE, THE MARRONE FAMILY
2007-1 IRREVOCABLE LIFE INSURANCE TRUST-2,

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

TONY MARRONE, as the r CVdn3 “ 6 3 6 8 Sv (4

TRUSTEE OF THE MARRONE

FAMILY 2007-1 IRREVOCABLE COMPLAINT FOR:
LIFE INSURANCE TRUST-?2;
DECLARATORY RELIEF

1.
Plaintiff, 2. INJUNCTIVE RELIEF
3. FRAUD
VS. 4. UNFAIR BUSINESS
PRACTICES
IMPERIAL HOLDINGS, INC.; 5. ELDER ABUSE
IMPERIAL PREMIUM FINANCE,
LLC; IMPERIAL LIFE JURY DEMAND
SETTLEMENTS, LLC; PORTFOLIO
FINANCIAL SERVICING Judge:

COMPANY, LLC; BANK OF UTAH;
THE LINCOLN NATIONAL LIFE
INSURANCE COMPANY; and

DOES 1 through 10, inclusive,

Defendants.

 

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COMPLAINT FOR DAMAGES

 

 

 
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Plaintiff, Tony Marrone (hereafter from time to time “Marrone”), in his
capacity as the individual trustee of The Marrone Family 2007-1 Irrevocable Life
Insurance Trust-2 (from time to time the “ Marrone Trust”, by and through their
attorneys, hereby files their Complaint against Defendants Imperial Holdings, Inc.
sometimes doing business as Imperial Trade and Finance, Imperial Premium Finance,
LLC, Imperial Life Settlements, LLC, Portfolio Financial Servicing Company, LLC,
Bank of Utah, The Lincoln National Life Insurance Company, and DOES 1 through

10, and in doing so allege as follows:

THE PARTIES

1. This is an action brought for Declaratory Judgment under 28 U.S.C.
§2201 and Rule 57 of the Federal Rules of Civil Procedure as well as for other relief
in which the Plaintiff seek a determination as to their rights and interests in a $2.1
million life insurance policy, policy no. JF-5565795 (the “Policy”), put in force in or
around June 27, 2007, and ultimately issued by The Lincoln National Life Insurance |
Company ("Lincoln"). The Policy was purchased by Marrone insuring the life of his
wife, Veneice Williams Marrone, and ultimately ownership of the Policy was
transferred to the Marrone Trust. As set forth in detail below, sometime after the
initial purchase of the Policy, the premiums for said Policy were thereafter financed
by Defendant Imperial Premium Finance, LLC (“IPF”), an entity wholly owned by
Defendant Imperial Holdings, Inc. (“THI”).

2. Ultimately and as a result of the financial transaction and related
transactions and conduct of Defendants as set forth in greater detail herein and
throughout, ownership in the policy was transferred to Portfolio Financial Servicing,
LLC ("PFS"), an entity also owned wholly by THI. IHI, by and through its ownership
of and affiliation with IPF and the related Imperial Defendants (collectively the
“Imperial Entities”) contend that they are the owners of the Policy and or have

asserted dominion and.control over the Policy so as to deprive the Plaintiff of the

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COMPLAINT FOR DAMAGES

 

 

 
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ownership and benefits of the Policy. Plaintiffis trustee of the Marrone Trust and in
that capacity is required to marshal the assets of the Trust for distribution upon the
death of the Trustor. Plaintiff, on the other hand, contends that the Marrone Trust
owns the Policy, and that the Imperial Entities’ interest in said Policy is limited to the
amount owing for the premium financing provided by IPF, and that the Imperial .
Entities have no interest in the Policy whatsoever beyond the financing amount.

3, Plaintiff further contends that the Imperial Entities’ conduct violates their
rights and interest in the Policy, and that their assertion of dominion and control over
the Policy and the benefits therein constitutes a fraud, unfair business practice and
elder abuse, among other claims. Thus an actual controversy of a justiciable nature
concerning the rights and obligations of the parties in and to the Policy currently
exists.

4. The Marrone Trust is a duly formed and executed Trust created in 2007

 

in the County of Los Angeles, State of California.

5. Plaintiff Tony Marrone is a citizen of the State of California residing in
the County of Los Angeles, State of California. Mr. Marrone brings this action not
only in his individual capacity but in his capacity acting as the individual trustee of
The Marrone Family 2007-1 Irrevocable Life Insurance Trust-2.

6. Defendant Imperial Holdings, Inc (IHI) is a corporation being organized
and existing under the laws of the State of Delaware, with its principal offices in Boca
Rattan, Florida. Plaintiff is informed and believes and thereon alleges that THI is
authorized to engage in, and that [HI regularly-does engage in, business in California,
County of Los Angeles. Defendant IHI sometimes did and does business as an entity
entitled “Imperial Trade and Finance,” a business entity form unknown.

7. Defendant Imperial Premium Finance, LLC ("IPF"} is a limited liability
company, being organized and existing under the laws of the State of Delaware, with
its principal offices in Boca Rattan, Florida. Plaintiff is informed and believes and
thereon alleges that IPF is authorized to engage in, and that IPF regularly does engage

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COMPLAINT FOR DAMAGES

 

 

 

 
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in, business in California, County of Los Angeles. Plaintiff is further informed and
believes and thereon alleges that Defendant IPF is wholly owned and or controlled by
Defendant IHI.

8. Defendant Imperial Life Settlements, LLC ("ILS") is a limited liability
company, being organized and existing under the laws of the State of Delaware, with
its principal offices in Boca Rattan, Florida. Plaintiffis informed and believes and
thereon alleges that ILS is authorized to engage in, and that ILS regularly does engage
in, business in California, County of Los Angeles. Plaintiff is further informed and
believes and thereon alleges that Defendant ILS is wholly owned and or controlled by
Defendant THI.

9. Defendant Portfolio Financial Servicing Company, LLC ("PFS”) is a
limited liability company, being organized and existing under the laws of the State of
Delaware, with its principal offices in Boca Rattan, Florida. Plaintiff is informed and-
believes and thereon alleges that PFS is authorized to engage in, and that PFS
regularly does engage in, business in California, County of Los Angeles. Plaintiff is
further informed and believes and thereon alleges that Defendant PFS is wholly
owned and or controlled by Defendant IHI.

10. Plaintiff is informed and believes and thereon alleges that at all times
mentioned in this Complaint, [IHI, and the remaining Imperial Entities, including but
not limited to PFS, ILS, and IPF, were and are the alter ego of each of the Imperial
Entity Defendants, and that at all times herein mentioned there existed such a unity of
interest in ownership between said Imperial Entity Defendants that any separateness
has ceased to exist between them because (i) the Imperial Entity Defendants have
commingled and used the assets of the other for their own benefit and have caused the
assets of the Imperial Entity Defendants to be transferred internally and to others
without adequate consideration; and (11) the IHI Defendant has exercised complete
dominance and control over the Imperial Entities, and their respective properties and
assets, such that the Imperial Entities are mere shells and instrumentalities for the

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COMPLAINT FOR DAMAGES

 

 

 

 
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conduct of the business and activities of [Hl]. Adherence to the fiction of a separate
existence of the Imperial Entities would sanction fraud and permit an abuse of the
legal benefits of true business entities.

ll. Defendant Bank of Utah is a citizen of the state of Utah and is a Utah
state chartered commercial bank with its principal place of business in Ogden, Utah.
Bank of Utah is the purported corporate trustee of the Marrone Trust. In acting in said
capacity, Bank of Utah did and does in fact engage in business within the State of
California.

12. Defendant The Lincoln Life Insurance Company ("Lincoln"} is a citizen
of Indiana, being a life insurance company organized and existing under the laws of
the State of Indiana, with its principal place of business located at 1300 South Clinton
Street, Fort Wayne, Indiana 46802.

JURISDICTION AND VENUE
13. This Court has jurisdiction over this matter pursuant to 28 U.S.C.
§1332(a), insofar as this is an action between citizens of different states and the matter
in controversy exceeds the sum of $75,000, exclusive of interest and costs.
14. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because a
substantial part of the events giving rise to the claim occurred and continues to occur
in the Central District of California, and Defendants and/or their agents may be found

in the Central District of California.

INITIAL ALLEGATIONS
15. Plaintiff Tony Marrone is trustee of the Marrone Trust; Marrone’s four
children are the beneficiaries of the $2.1MM Policy purchased by Marrone on the life
of his spouse, Veneice Williams Marrone. Tony Marrone is 88 years old. Initially, in
and around June 2007, Marrone purchased the Policy himself in his individual
capacity; however, after many months, and for estate planning and taxation purposes,

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COMPLAINT FOR DAMAGES

 
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Marrone transferred the Policy to the Marrone Trust. After the transfer, Marrone was
still the owner of the policy, and his ownership therein changed simply to that in his
capacity as the Trustee of the Marrone Trust. At all times relevant thus far, Marrone
was entitled to the benefits of the Policy, specifically the financial benefits upon
maturity of the Policy.

16. Inor around January 2008 Marrone entered into a series of discussions
with insurance professionals and financial advisors related to financing options
available with respect to the policy. Specifically, Marrone was advised that in fact
subsequent premium obligations to keep the policy in force could be made by a
premium finance company, such as [HI and the Imperial Entities. Throughout the
course of said negotiations and discussions, Plaintiff and his representatives had many
conversations with Imperial representatives, including Jonathan Moulton, Eleni
Kalyvus, Marshall Georges, Jim Purdy, and other representatives from the Imperial
Entities.

17. In furtherance of those discussions, [HI representatives made repeated
representations as to the benefits of premium finance, the benefits of premium finance
with THI and the Imperial Entities, and how such would benefit Marrone with respect
to estate taxation and income tax issues then relevant to the time period and financial
position of Marrone. Between January 2008 and December 2008 said IHI
representatives assured Marrone, and his representatives, that entering into the
premium finance transaction with IHI and the Imperial Entities would be a) fair and
honest, b) would provide the best possible estate tax advantage, c) would allow
Marrone to receive the benefits of the policy maturity, and d) would be beneficial to
Marrone’s then-current income tax situation. |

18. Based thereon and having been convinced that financing the upcoming
premiums made the most sense, and that Imperial Entities were in fact the best
provider for said services, Marrone proceeded to enter into a series of transactions
with the Imperial Entities, specifically THI, IPF and PFS. Ultimately, on or around

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December 18, 2008, Plaintiff executed a promissory note relating back to February 26,
2008, for the financing of the Policy premiums. A true and correct copy of said
Promissory Note evidencing the financing arrangement is attached herewith as
Exhibit A. On behalf of Defendants, IPF, was listed as the Lender, and counter-
signatory to the Note.

19. As part of the inducement for Plaintiff to execute the Promissory Note,
said Note contained a two (2) year maturity date, the principal being due on April 26,
2010. This date was agreed to by Plaintiff in that it allowed Plaintiff to achieve the _
desired ends sought by financing the Policy premiums. Moreover, two years was a
sufficient time for Marrone to repay the maximum principal amount contained in the
note, of $88,253.67.

20. Simultaneous thereto, Plaintiff executed a document entitled
“Assignment of Life Insurance Policy as Collateral” wherein Plaintiff was advised by
IHI and its representatives that this document was in lieu of having a personal
guarantee by Marrone to ensure repayment of the loan. Specifically, at the time of
execution of the agreement, Marrone was told that the document would assign those
portions of the death benefits from the policy, at the time of policy maturity, then
needed to repay any balance owing on the loan. In other words and by example, if at
the time of maturity of the Policy there remained a balance to the Imperial Entities of
$75,000.00 inclusive of interest etcetera, then $75,000.00 of the $2.1MM death
benefits would serve to repay (collateralize) said amount. Plaintiff understood this to
be in accordance with premium lender finance law at the time. A true and correct
copy of the Assignment of Life Insurance Policy as Collateral is attached herewith as
Exhibit B.

21. As set forth below, Plaintiff was not told that the entire policy proceeds
(in other words the complete surrender of ownership in the Policy and the $2.1MM

benefits therefrom) would serve as collateral to a then $88,000.00 loan.

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COMPLAINT FOR DAMAGES

 

 
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22. In hindsight, this was not the only matter that [HI and the related Imperial
Entities failed to disclose to Plaintiff. On September 27, 2011 the Imperial Entities’
business operations were subject to a "raid" by the Federal Bureau of Investigation, as
a result of an investigation by the State of New Hampshire, among other states, as to
IHI's business practices, their methods of solicitation, and the actual motives behind
the financing programs offered by IHI and its related companies. Said investigation
by both the FBI and the Securities Exchange Commission is ongoing currently, and
based on publicly available information, Plaintiff is advised of the following from the
United States Attorney’s Office and other sources:

Imperial Holdings, Inc. (Imperial), a publicly traded specialty finance

corporation headquartered in Boca Raton, Florida, has entered into a Non-

Prosecution Agreement (NPA) with the United States Attorney's Office for the ©

District of New Hampshire to pay a multimillion dollar penalty to resolve fraud

allegations related to Imperial's involvement in making misrepresentations on

life insurance applications in connection with its premium finance business...

23. According to the NPA, from December 2006 through January 2009, as
part of its premium finance business, certain Imperial employees, who were licensed
insurance agents, worked with external general agents and brokers, to obtain life
insurance policies on individuals over 65 years of age for which Imperial would offer
premium finance loans. These Imperial employees had direct contact with the
prospective insureds and worked with the insureds and external general agents and
brokers to complete life insurance applications for submission to various life
insurance companies.

24, The United States Attorney's Office entered into the NPA with Imperial
based, in part, on Imperial's decision to terminate its premium finance business and
separate the employees who are known at this time to have been primarily involved in
the misconduct identified above, as well as, Plaintiff is informed and believes, further
conduct as set forth herein. This includes certain individuals who participated in the

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finance process of the Marrone Policy, not limited to Jonathan Moulton. Plaintiff is
informed and believes and thereon alleges that an investigation into Jonathon Moulton
and other executives from the Imperial Entities is ongoing.

25. As part of its illegal and wrongful business acts, Plaintiff is informed and
believes and thereon alleges that in some instances, Imperial employees who were
also licensed life insurance agents wrote the policies used as collateral for loans. In
additional Plaintiff is further informed an believes that the Imperial Entities conspired
together to devise ways in which a) they could market and sell premium finance
programs to agents throughout the United States, b) and that in doing so they would
induce the insureds and to engage in finance programs with the Imperial Entities, and
c) so that THI could and ultimately would receive the ownership of the financed
policies and the death benefits therefrom, as opposed to simply earning interest on the
repayments of their premium finance loans.

26. In furtherance of their scheme, once IHI and its related entities devised a
means to foreclose on the policy loans, it would then have the option of maintaining
the premiums until the policy matured (the insured died), or it could liquidate the
insurance policy be selling it on the secondary market (the life settlement market), and
thus immediately profit from the sale of the policy.

27. THI and the Imperial Entities engaged the services of Defendant Bank of
Utah to assist in this scheme, by having Bank of Utah serve as the “institutional
trustee” for those policies [HI and its related entities undertook premium financing
for. Plaintiff is informed and believes and thereon alleges that the IHI Defendants
engaged Defendant Bank of Utah for this purpose because Bank of Utah would follow
the instruction of IHI and the Imperial Entities without question, even if such required
violating insurance regulations in the State of Utah.

28. Specifically in fact, Utah insurance laws exist that prohibits ‘an insurance
premium finance company from obtaining an interest in an insured's policy, over and
above any and all amounts due based solely on the financing. See, e.g. Utah Cade

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COMPLAINT FOR DAMAGES

 

 

 

 
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Annotated (U.C.A) 31 A-21-104 (Insurable interest and consent, requires that an
insurable interest exist not only on the effective date of the insurance but also at the
time of the later procurement of an interest in the proceeds. Further, subsection U.C.A.
31A-21-104(2) {b} states that a "person may not knowingly procure, directly, by
assignment or otherwise, an interest in the proceeds of an insurance policy unless that
person has or expects to have an insurable interest in the subject of the insurance."

29. Such pattern of conduct was exactly what transpired here: prior to the
transfer of the policy, subsequent default on the note (which never occurred here), or
any other reason for which Marrone would be required to cease serving, or unable to
serve, as trustee of the Marrone Trust, Bank of Utah substituted itself as the co- trustee
for the Marrone Trust. Not only was this not explained to Marrone, but it was only
done so that THI, the Imperial Entities, by and thought Bank of Utah, could control
and manipulate the policy as they saw fit, without the knowledge and or interference
of Marrone. Plaintiff is informed and believes and thereon alleges from the inception
of its financing of certain policies, including the Marrone Policy, the Imperial Entities
and Bank of Utah intended to exercise control and dominion over the Policy for
purposes of either collecting on the policy benefits at maturity, or otherwise
capitalizing financially from their ownership of the Policy.

30. In light of the ongoing investigation by Federal Authorities, and the
volume of Lincoln Financial Group policies involved with the IHI Defendants in this
same manner, Plaintiff is informed and believes and thereon alleges that Defendant
Lincoln was aware of, and in fact participated in the ongoing efforts of its co-
Defendants. Specifically, by participating in the scheme, underwriters, agents, and
other employees of Lincoln would benefit by placing more Lincoln policies than
normally would have been placed at the time. The more Lincoln policies that are
placed, the more Lincoln Financial Group profits as a result of the premiums earned in
connection therewith, and more specifically, the more commissions are earned by
Lincoln agents in doing so.

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COMPLAINT FOR DAMAGES

 
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31. In similar fashion to the now uncovered Imperial Entity scheme and plan,
in or around January 2009, approximately one month after the execution of Exhibit A,
IPF, on behalf of itself, [HI and the Imperial Entities sent Marrone notice that the
terms of the financing agreement were now “changing.” Specifically, IPF advised
Marrone in said letter that the maturity date for the loan is now being advanced by one
entire year; and that the new maturity date of the premium finance loan is now August
27, 2009, as opposed to April 26, 2010. A true and correct copy of said letter is
attached herewith as Exhibit C. |

32. Indeed this caught Marrone by surprise. In response thereto, between
January 2009 and June or July 2009, Marrone began a series of discussions with IHI
and the Imperial Entities as to why this was the case, and how the note matured, but
more importantly, what were his options with respect to the Policy and the balance
owed on the Note. Given Marrone’s then and current advanced age, Marrone cannot
recall all of the conversations he had and with whom at IHI or IPF he had said
conversations.

33. Notwithstanding the foregoing, Plaintiff recalls conversations with IHI,
including Jonathan Moulton wherein Marrone was pressured that he should simply
abandon the Policy and surrender the Policy prior to the loan payoff date (now
advanced). The reason given for this unusual request and for the repeated pressure to
heed to the request, was that according to IHI there would soon be the passage of an
unfavorable US Treasury Department Ruling that would make the forgiveness of the
debt associated with the policy taxable to borrowers.” Plaintiff was further advised
that if he just transferred the policy, it would be allowed to lapse, and thus Marrone
would have no further obligations to the Note, the Policy, or any other financial
obligations to any party herein.

34. Plaintiff is informed and believes and thereon alleges that this
information was false, and that no such Treasury ruling was ever intended or
forthcoming. Instead, Plaintiff is informed and believe and thereon allege that IHI and

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COMPLAINT FOR DAMAGES

 

 
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the Imperial Entities were using this tactic as leverage in an effort to have borrowers,
such as Plaintiff, surrender their polices early, thus facilitating Defendants scheme and
devise: to obtain borrowers policies and use them as assets for themselves.

35. True to this form, after these ongoing conversations, on or about July 23,
2009 Bank of Utah, acting in concert with IPF, on behalf of itself and the Imperial
Entities, sent Plaintiff a “thirty Day Maturity Notice” which contained a July 8, 2009
notice of the same character from IPF. In said correspondence, a true and correct
copy of which is attached herewith as Exhibit D, Defendant Bank of Utah further
advised Plaintiff that there are no additional funds in the trust with which to pay the
premiums necessary to keep the Policy in force (funds that should have been provided
by the original terms of the Note executed in December 2008). This pattern fits
exactly that later revealed by the ongoing investigation described herein and
throughout.

36. After receipt of the letters, and the misrepresentations and fraudulent
information provided by Defendants, Marrone believed he was left with no option; he
was not told that he could seek a third party source of funding; he was not told he
could attempt to otherwise liquidate the asset himself: and he was not told that there
may be additional options by which the Policy might be saved. In other words,
Plaintiff was not told the truth. Thus on August 24, 2009, when Marrone received a
letter from IPF, on behalf of itself and the Imperial Entities, containing an “Agreement
to Voluntarily Relinquish Interest” he executed the same and surrendered himself a
victim to the scheme. A true and correct copy of the Agreement and cover letter is
attached herewith as Exhibit E.

37. Based on the falsities and misrepresentations set forth herein and
throughout, Plaintiff complied with the further document execution requirements
provided by Defendants, and in doing so, effectively turned over a $2,100,000.00

asset for approximately $66,000.00 remaining on a promissory note.

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COMPLAINT FOR DAMAGES

 

 
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38. As further evidence that Marrone was indeed a victim to the scheme that
is currently and still being investigated and uncovered by Federal Authorities, on or
about October 29, 2010 Plaintiff received a letter from Defendant Lincoln, advising
that a “third party” life settlement company was requesting information related to The
Policy; meaning that Defendant IHI and the related Imperial Entities were in fact
seeking to sell the Marrone Policy for their own benefit. Thus, itis clear that [HI and
the Imperial Entities intended to a) lend the bare minimum on the Policy in order to
implement their scheme to exercise dominion and control over the Policy, b) IHI and
the Imperial Entities did in fact gain control and dominion over the Policy, and c) IHI
and the Imperial Entities ultimately attempted to monetize the Marrone Policy by
selling it to a third party. A true and correct copy of the Lincoln Letter is attached _
herewith as Exhibit F. Marrone, again being of significantly advanced age, was not
aware of the meaning behind Exhibit F. |

39. Thereafter all communication with the various Defendants ceased, and
Plaintiff was unaware as to the true nature of what had transpired. It was not until-on
or around April 30, 2012 that the news of the FBI raid into the offices and business
practices of IHI and the related Imperial Entities became public, and that upon
learning the same, Plaintiff considered he might have been the victim of the scheme
and plan set forth herein, and now known through the investigation to have transpired.

40. On July 12, 2013 Veneice Williams Marrone passed away. Thus in
completion of its bad acts, [HI stands to receive the $2,100,000.00 death benefits as
proceeds from its wrongful, illegal scheme. Based thereon, Plaintiff is informed and
believes and thereon alleges that [HI and Bank of Utah are currently undertaking
efforts to complete the necessary actions to receive the proceeds from the Policy, and
that in doing so, said Defendants continue to exercise dominion and control over the ©
Policy. In doing so, said Defendants have denied, and continue to deny Plaintiff's

right to and in the Policy, including the right to receive the death benefits therefrom.

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PLAINTIFF’S CLAIMS FOR RELIEF
FIRST CLAIM FOR RELEIF
(Declaratory Relief as to the Rights and interests of the
Parties in and to the Policy Against all Defendants)

41. Plaintiff realleges and incorporates paragraphs | through 40 above by
reference as though fully set forth herein.

42. As set forth herein and throughout, there is now an actual controversy of
a justiciable nature as to whether the Policy is owned by the Marrone Trust, whether
Tony Marrone and /or the Bank of Utah is the Trustee of the Trust, and what are the
rights and interests of IHI and the Imperial Entities, and the rights of Plaintiff, in and
to the Policy.

43. Plaintiff is entitled to a judicial declaration, in view of the circumstances
surrounding the Policy as to the rights, title and interests of the Plaintiffs and the
Defendants in and to the Policy.

44. Based thereon the Plaintiff respectfully requests the entry of an Order by
this Court declaring that:

a. The Marrone Trust is the owner, and Marrone is the beneficiary of
the Policy; |

b. __THI's only rights are to receive repayment of any amounts paid by
THI and the Imperial Defendants to Lincoln or to the Plaintiff in regard to the
financing of the policy and that the THI and Imperial Defendants must provide the
Plaintiff with a proper demand for repayment of its obligations, and that beyond said
sums, the Imperial Defendants have no other interest in or to the Policy;

c. Tony Marrone is the individual Trustee for the Trust;

d. Bank of Utah is not a Trustee of the Trust;

e. Lincoln is bound to honor the terms and conditions of the Policy as
to the Plaintiff;

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COMPLAINT FOR DAMAGES

 

 
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f. | No other Defendant herein has any right title or interest in or to the

Policy.

SECOND CLAIM FOR RELEIF
(For Injunction Against All Defendants)

 

45. Plaintiff realleges and incorporates paragraphs | through 44 above by
reference as though fully set forth herein. |

46. Based upon the controversy as between the parties as hereinabove
alleged, Plaintiff seeks a temporary restraining order and preliminary injunction,
restraining and enjoining Defendants, and each of them, from selling, transferring,
assigning, or other attempting to exert dominion and control over the Policy, and or
proceeds from the Policy, during the pendency of this action.

47. Should a restraining order not issue, Plaintiff will suffer irreparable harm
should the Policy and or the proceeds from the Policy be transferred, sold or otherwise
assigned by Defendants, in that any potential third party acquiring could assert an
ownership interest in and to the Policy, and thus subject Plaintiff to a loss of its
interests in the Policy. Moreover, if in fact Defendants, and any of them, receive the
proceeds from the Policy, specifically the $2.1MM death benefit, Defendants could
easily conceal, expend, transfer or otherwise misappropriate said funds, thus causing a
pecuniary loss to Plaintiff.

48. Plaintiff is entitled to such injunctive relief as Plaintiff does not have an
adequate remedy at law, in that this controversy involved title to personal property,
which is unique and cannot be replaced given the fact that Veneice Williams Marrone
has passed away. Specifically, in light of Veneice’s death, the Policy at issue herein
cannot be reissued by another carrier, or replaced by a policy of similar character and

value.

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COMPLAINT FOR DAMAGES

 

 

 

 
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THIRD CLAIM FOR RELIEF
(Fraud Against Defendants IHI, IPF, ILS, and PLS)

49. Plaintiff realleges and incorporates paragraphs | through 48 above by
reference as though fully set forth herein.

50. As hereinabove alleged, IPF's conduct in inducing Plaintiff to enter into
the initial Promissory Note, Assignment of Policy as Collateral Agreement, and
ultimately the Voluntary Transfer of the Policy Agreement, was based upon material
misrepresentations of fact and law, in that throughout the time said Defendants were
negotiating the Agreements and thereafter, said Defendants knew that they were
engaged in illegal criminal conduct of the nature set forth herein and throughout. In
furtherance of Defendants conduct, Plaintiff is further informed an believes that the
Imperial Entities conspired together to devise ways in which a) they could market and
sell premium finance programs to agents throughout the United States, b) and that in
doing so they would induce the insureds and to engage in finance programs with the
Imperial Entities, and c) so that IHI could and ultimately would receive the ownership
of the financed policies and the death benefits therefrom, as opposed to simply earning
interest on the repayments of their premium finance loans.

51. As set forth in detail above in or around January to July 2009, after
completing the financing transactions, the Imperial Entities, by and through their
authorized representative including but not limited to Jonathan Moulton, made certain
false representations to Plaintiff about the terms of the financial arrangements between
Plaintiff and said Defendants, the terms of the Promissory Note, and the options that
remained with respect to the Policy.

52. In or around January 2009, approximately one month after the execution
of the Promissory Note, IPF, on behalf of itself, [HI and the Imperial Entities sent
Marrone notice that the terms of the financing agreement were now “changing.”

Specifically, IPF advised Marrone in said letter that the maturity date for the loan is

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COMPLAINT FOR DAMAGES

 

 

 

 
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now being advanced by one entire year; and that the new maturity date of the
premium finance loan is now August 27, 2009, as opposed to April 26, 2010.

53. Thereafter, Plaintiff recalls conversations with IHI, including Jonathan
Moulton wherein Marrone was pressured that he should simply abandon the Policy
and surrender the Policy prior to the loan payoff date (now advanced). The reason
given for this unusual request and for the repeated pressure to heed to the request, was
that according to IHI there would soon be the passage of an unfavorable US Treasury
Department Ruling that would make the forgiveness of the debt associated with the
policy taxable to borrowers.” Plaintiff was further advised that if he just transferred
the policy, it would be allowed to lapse, and thus Marrone would have no further
obligations to the Note, the Policy, or any other financial obligations to any party
herein. This information is entirely false.
| 54. Plaintiff was not told that he could seek a third party source of funding;
he was not told he could attempt to otherwise liquidate the asset himself; and he was
not told that there may be additional options by which the Policy might be saved.

55. In making the fraudulent misrepresentations or omissions of material fact
to the Plaintiff, said Defendants intended Plaintiff to rely on the same, and in fact the
Plaintiff did rely on the misrepresentations and omissions of material fact set forth
herein and throughout. As a result, in or around August 2009 Plaintiff executed the
Voluntary Relinquish of Policy Agreement attached herewith, which turned over the
Policy and its benefits to Defendants. In fact and in truth, the Imperial Entities
conspired together to devise ways in which a) they could market and sell premium
finance programs to agents throughout the United States, b) and that in doing so they
would induce the insureds and to engage in finance programs with the Imperial
Entities, and c) so that IHI could and ultimately would receive the ownership of the
financed policies and the death benefits therefrom, as opposed to simply earning

interest on the repayments of their premium finance loans.

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COMPLAINT FOR DAMAGES

 

 

 
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56. Said Defendants fraudulent conduct is further demonstrated by their
intent to lend the bare minimum on the Policy in order to implement their scheme to
exercise dominion and control over the Policy, whereupon subsequently [HI and the
Imperial Entities did in fact gain control and dominion over the Policy, and where
after [HI and the Imperial Entities ultimately attempted to monetize the Marrone
Policy by selling it to a third party.

57. Asadirect and proximate cause of IPF's fraud as hereinabove alleged,
Plaintiff has been damaged in an amount to be determinate at the time of the trial of
this matter, but in excess of the jurisdictional limits of this court, but in an amount no
less than $2,100,000.00.

58. Said Defendants conduct as hereinabove alleged was done, intentionally,
willfully, maliciously and with reckless disregard to the rights of Plaintiff so as to
entitle Plaintiff to punitive damages as against these Defendants, and each of them, in

an amount to be determined at the time of trial of this matter.

FOURTH CLAIM FOR RELIEF
(Unfair Business Practices Violation of Cal. Bus. & Prof. Code
§17200, et seq. Against all Defendants)

59. Plaintiff realleges and incorporates herein by reference paragraphs 1
through 58 inclusive, as though the same were fully set forth herein.

60. Defendants and each of their acts and practices as described herein and
throughout constitute unlawful, fraudulent, and unfair business practices in violation
of California's Business and Professions Code, Sections 17200, et seq., in that (1) the
justification of Defendants' conduct is outweighed by the gravity of the consequences
to Plaintiff; (2) Defendants' conduct is illegal, immoral, unethical, oppressive,
unscrupulous, unconscionable or substantially injurious to Plaintiff; and (3) the
uniform concerted conduct of the Defendants, and each of them, has a tendency to

deceive Plaintiff.

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COMPLAINT FOR DAMAGES

 
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61. Asset forth above, said Defendants unlawful, unfair, and fraudulent
business acts and practices included but were not limited to attempting to and
ultimately succeeding in exercising control and dominion of the Marrone Policy, with
the intent to either monetize said Policy on the secondary insurance market, or to
collect the death benefits from the Policy upon the Policy’s maturity. Further
Defendants concerted actions constituted unlawful business acts and practices
pursuant to California Business &Professions Code § 17200, et seq., and other similar
state unfair competition and unlawful business practices statutes, in that said
Defendants have asserted ownership of the Policy and have prevented Plaintiff from
obtaining clear and unencumbered ownership of the Policy and the benefits therein.
In doing so said Defendants are asserting interests in and to the Policy that are
precluded by law.

62. Pursuant to California Business and Professions Code §§ 17200 and
17203, Plaintiff seeks relief in the form of damages, injunctive relief and for recovery

of reasonable attorney fees and costs, all as afforded by statute.

FIFTH CLAIM FOR RELIEF
(Elder Abuse by Marrone in his Individual Capacity
against Defendants IMI, IPF, ILS, and PLS )

63. Plaintiff realleges and incorporates paragraphs | through 62 above by
reference as though fully set forth herein.

64. As set forth herein, the conduct of said Defendants in attempting to
obtain dominion and control over the Policy, to the detriment of Marrone, the lawful
beneficiary of the Marrone Trust, and thus the proceeds from the Policy, under
California Law constitutes Elder Abuse as that term is defined in California Civil
Code Sections 1575, and 3345 and California Welfare and Institutions Code Section
1561010.30 ("Financial Abuse").

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COMPLAINT FOR DAMAGES

 

 

 

 
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65. Said Defendants, having interacted with Marrone, knew that their
conduct was directed to Marrone, who by definition under California's Civil Code and
Welfare and Institutions Code is a "senior citizen" being over 70 years of age, and
further knew that their conduct caused and will cause and is intended to cause a

substantial loss of personal property that is to be used for family care and maintenance

of the Plaintiff and his family, and that said Defendant's conduct was done for a

wrongful purpose or with the intent to defraud Plaintiff, or both. Tony Marrone will
be 89 years old in September 2013.

66. Defendants’ conduct, as hereinabove and throughout alleged, was
intended to and did cause Plaintiff to suffer substantial physical, emotional and
economic damages, and Defendants knew or should have known that their conduct is
and was likely to be harmful to Plaintiff.

67. Asa proximate result of the Defendants’ wrongful conduct, Plaintiff has
sustained and will sustain substantial economic lasses and other general and specific
damages all an amount to be determined according to proof.

68. Asa further proximate result of Defendants’ wrongful conduct, Plaintiff
has sustained great emotional pain and mental suffering, all in an amount to be
determined according to proof.

69. The actions taken by said Defendants, set forth herein and throughout,
were in all respects reckless, malicious, willful and oppressive, and manifested either
disregard or contempt for the rights of Tony Marrone.

70. Defendants were fully cognizant of the position of trust in which they
stood.

71. Based upon Defendants’ conduct as alleged hereon and throughout,
Plaintiff is entitled to an award of punitive and exemplary damages as well as
attorneys’ fees, in an amount according to proof at the time of trial.

72. As the subject transactions involved senior citizens, Plaintiff is further
entitled to treble damages and penalties pursuant to California Civil Code section

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COMPLAINT FOR DAMAGES

 

 
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3345 because Defendants knew or should have known that their conduct was directed

to one or more senior citizens, specifically to Tony Marrone.

 

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays for relief as follows:
ON THE FIRST CLAIM FOR RELIEF
(For Declaratory Relief)
1. Entry of an Order by this Court declaring that:
a. | The Marrone Trust is the owner, and Marrone is the beneficiary of the
Policy |
b.  JHI's only rights are to receive repayment of any amounts paid by THI
and the Imperial Defendants to Lincoln or to the Plaintiff in regard to the financing of

the policy and that the [HI and Imperial Defendants must provide the Plaintiff with a
proper demand for repayment of its obligations, and that beyond said sums, the
Imperial Defendants have no other interest in or to the Policy;

c. Tony Marrone is the individual Trustee for the Trust;

d. Bank of Utah is not a Trustee of the Trust;

e. Lincoln is bound to honor the terms and conditions of the Policy as to the
Plaintiff:

f. | No other Defendant herein has any right title or interest in or to the
Policy.
2. For reasonable attorney fees and costs of suit;
3. For interest as allowed by law;
4. For such other relief as deemed appropriate by this Court.
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COMPLAINT FOR DAMAGES

 
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1 ON THE SECOND CLAIM FOR RELIEF
2 (For Injunction Against All Defendants)
3 1. For a temporary restraining order, preliminary injunction, and permanent

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injunction restraining and enjoining Defendants, and each of them, from selling,

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6 || Policy or the proceeds from the policy, during the pendency of this action.
7 2. For reasonable attorney fees and costs of suit;
8 3. For interest as allowed by law;
9 4. For such other relief as deemed appropriate by this Court.
10 |
11 ON THE THIRD CLAIM FOR RELIEF
12. (For Fraud Against the Imperial Entity Defendants)
13 1. For damages according to proof;
14 2. For punitive.damages according to proof;
15 3. For reasonable attorney fees and costs of suit;
16 4. For interest as allowed by law;
17 5. For such other relief as deemed appropriate by this Court.
18
19 ON THE FOURTH CLAIM FOR RELIEF

20 (For Unfair Business Practices (B&P 17200 et Seq.) Against all Defendants)

21 1. For damages according to proof;

22 2. For declaratory and injunctive relief as allowed by statute;

23 3. For reasonable attorney fees and costs of suit allowed by statute;
24 4. For interest as allowed by law;

25 5. For such other relief as deemed appropriate by this Court.

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transferring, assigning, or otherwise attempting to exert dominion and control over the

 

COMPLAINT FOR DAMAGES

 

 

 
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ON THE FIFTH CLAIM FOR RELIEF
(For Elder Abuse Against the Imperial Entities)
For damages according to proof;
For punitive damages according to proof;
For treble damages allowed by statute;
For reasonable attorney fees and costs of suit allowed by statute;

For interest as allowed by law;

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For such other relief as deemed appropriate by this Court.

DATED: August 15, 2013 BEITCHMAN & ZEKIAN, P.C,

  

Byte
David P. Beitchman
Attorneys for Plaintiff

 

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COMPLAINT FOR DAMAGES

 

 
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EXHIBIT A
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PROMISSORY NOTE

 

 

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Case 2:13-cv-06368-SJO-E Document1 Filed 08/30/13 Page 28 of 71. Page ID #:58

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Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 29 of 71 Page ID #:59

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RATE PROVISIONS. BORROWER AGREES TO a as OF TE Pa SEE “

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BORROWER:
The Marrone Family 2067-1 irrevocable Lit ineeramces Frest-2

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By: Bank of Gri. Ce-T raste:

 

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By: Bank.ef Utsk, Co-Trustec

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Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 32 of 71 Page ID #:62

EXHIBIT B
Case 2:13-cv-06368-SJO-E Document1 Filed 08/30/13 Page 33 of 71 Page ID #:63

    

Feisrwary 26, 2086

| NGUREE: Seinen Mia Life inserenos Camearr

ASSIGNMENT OF LIFE INSURANCE POLICY A$ COLLATERAL co

This ASSIGNMENT OF LIFE INSURANCE POLICY y AS COLLATERAL ft
“Assignment”) is dated as of February 26, 2008 and is. aende in Sever of Postilio
Financial Servicing Company, s Deisware comoration, in i cagectty ac cola! age
(the “Coliateral Agent”) by Tie Marrem: Pamaity 2087-1 Irrevecabic Life insurance.
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Premium Finance, LLC, o Fioride limited iebiiey company (eckeding ary epnitomion
and assignees thereol the “Lender”) and Asmgnor daned Februmy 26, 2006 fa: “Lom
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“Loan”) to the Assignor as evidenced by # Promissory Not dated Febmumry 26, 2000 cms
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Case 2:13-cv-06368-SJO-E Document1 Filed 08/30/13 Page 34 of 71 Page ID #:64

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Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 36 of 71 Page ID #:66

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Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 37 of 71 Page ID #:67

  

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Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 38 of 71 Page ID #:68

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Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 39 of 71 Page ID #:69

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(g) the Assignor shall not surender, cence! or otherwise: vxcomnc the Lit

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(j) the Assignor shall comply with and enforce afl movisions of a Trust

(k) Following an Event of Defamht (as Gefeed @ tee Lown Agvecment) Gx
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Case 2:13-cv-06368-SJO-E Document1 Filed 08/30/13 Page 40 of 71 Page ID #:70

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Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 41 of 71 Page ID #:71

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(a) Counterparts. This Assignmen: may ane oe ius

 
 

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(6) Assignment. This Assignment shall be binding ies se: nce a

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{c) Arbitration. Any claims, questions or comroweniss ering mci

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Utah; and (c) HEREBY WAIVE THE RIGHT SUCH PARTY MAY.
HAVE TO A TRIAL BY JURY ON ANY CLAIM COUNTERCLAIM
SETOFF, DEMAND, ACTION Of CAUSE OF ACTION (@) ARISIWG 0°
OUT OF OR IN ANY WAY RELATED TO THIS ASSIGNMEXT O28
Q) IN ANY WAY IN CONNECTION WITH OR FERTAINING OF...
PARTIES TO THIS ASSIGNMENT IN CONNSCTION WITH Tims...
ASSIGNMENT OR THE EXERCISE OF ANY PARTY'S RIGHTS AND."
CONDUCT OR THE RELATIONSHIP OF THE PARTIES HERETO FR.
-ALL OF THE FORBGOING CASES WHETHER NOW EXISNING OR =
CONTRACT, TORT OR OTHERWISE. Tre Asmeuor Powe: beet
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{e) Disciaimer. THE ASSIGNOR ACEKNOWLEDGS AND AGEEES
THAT THE COLLATERAL AGENT HAS NOT AND WILL NOT
PROVIDE ANY ADVICE OR REGOMMENDAIIRS &
CONNECTION WITH THIS ASSIGNMENT, INCLUDING, WITHOUT
LIMITATION, ADVICE OR RECOMMENDATIONS RELATING TO.

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Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 43 of 71 Page ID #:73

    

ESTATES OR FINANCIAL PLANNING, TAXES OR ACCOUNTING
OR LSGAL MATTERS. THE ASSIGNOR HAS HAD THE
OPPORTUNITY TO BE REPRESENTED BY ITS OWN OOMPETENT
COUNSEL IN CONNECTION WITH THE NEGOTIATION AND
EXECUTION OF THIS ASSIGNMENT. THE UNDGESIGHED
ACKNOWLEDGES THAT BEFORE SIGNING THIS ASSIGNMENT,
THE ASSIGNOR HAS READ THES ASSIGNMENT IN ITS ENTIRETY
AND RECEIVED A ae ee. aes COPY OF
THIS ASSIGNMENT.

(f) Notices. ‘att Sinica. ‘ese ih estan Schaal ‘i
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Telephon: Bee
‘Fecsmi:

The Mexrons Peniy 2007 eos i cesT?
cio Tomy Marrone, a

224 5 Bentiey Ave oS SP

If to tre Lemeber:

trnpecial Preiiain Fieancd LLC
701 Fark of Commerce Blvd. Se 30! _
Fhoce Rumton, FL. 33457 :
Facsmiic: 1.561.995 420)

Ef to the Colima) Ageen

Portfolio Financial Servicing Company
212) SW Brmedwaory, Sum 200

Portiand, OF. $720

Atisntion: o
Telephone: 503-222-1245
Facsimik:

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Case 2:13-cv-06368-SJO-E Document1 Filed 08/30/13 Page 44 of 71 Page ID #:74

 

(g) Severability. in the event any ome of more of th: provisions coco.
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unenforceable in amy respect, such invalidity, Dhegnitty or unenforcesisiiey
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been contained herein.

Trustee Recowres. it is eureaaiy umdcrstved and agreed & te: ae
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Case 2:13-cv-06368-SJO-E Document1 Filed 08/30/13 Page 45 of 71 Page.ID #:75

   

IN WITNESS WHEREOT, tee unaecsigued Amiga Bee socco: ft Seo
favor of tne Lender as of the dete first writen enove.

ASSIGNOE:

The Marrone Famitr 2867-1 inpeeeseiis, Efe incurens Trem

by: BamkofUtak, Co-Trestre

 

 

 

 

 

 

 

 

 

 

 
Case 2:13-cv-06368-SJO-E Document1 Filed 08/30/13 Page 46 of 71 Page ID #:76

     

favor of the Lender as. ofthe date first writer: shore,

ASSIGNOR

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The Marrone Eamily 2607-1 lrrevocanie Lie Ieseremes Tres

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Re: ee

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Name Tomy-Marrane
Title: CO“TRUSTEE

 

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STATE OF am agen & ‘

COUNTY OF hasfngoles

by Tony
identification.

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Sworn to (or affirmed) and subscriped before m= tex: 13 Gy of ee

 
 
 

 

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(Print, type, or stamp commissioned
Name of Notary Public)

   

 

‘My Commission Expires: _

 
Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 47 of 71 Page ID #:77

  

IN WITNESS WHEREOF, the undersigned Tiesiécr ‘hes accepted and ecknowindged
this Assignment-as of the date first-written above.

| LENDER:

imperial: Premiom Finance, LLC

 

Mame:
Tithe:

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avknowledged: this Assignment 8s. of the dare fast seritien: aoe

      

 

COLLATERAL AGENT:

   

Portfolio Financial Servicing Company :

By: ‘Pertfolio Financial Servicing Compas. seledy we Cainere oa

  

 

 

Name: .
Tithe:

 

 

 
Case 2:13-cv-06368-SJO-E Document1 Filed 08/30/13 Page 48 of 71 Page ID #:78

Consent and Acknowledgment

The undersigned bereny:

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Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 49 of 71 Page ID #:79

EXHIBIT C
Case 2:13-cv-06368-SJO-E Document1 Filed 08/30/13 Page 50 of 71 Page ID #:80

 

“33 IMPERIAL
e oe

PREMIVE FIANCE, LLC

Veneice Williams Marrone
224 South Bentiey. Avenue
.Los Angeles, CA 90049

 

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Bank of Utah _ ae

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January 13, 2009

 

Dear Mrs. Marrone etal, ee ee ; ne ; ors 7 I &

  

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. sive a ofthe original dato town w ol See Rs ori aectesiop

  

The Issue Date of the policy is Jiane-27, 2007. the
the Loan is adjusted from April 26, See ey ot

 

70t Park of Commerce Boulevard, Suite 30%
Boca Raton, FL 33487

888. 36.IMPRL (364.6775)
561.995.4204 Fax

 

y;weewsimprL.com
Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 51 of 71 Page ID #:81

EXHIBIT D
Case 2:13-cv-06368-SJO-E Document ; 1 Filed 08/30/13 | Page 52 of 7 71 _ Page | ID #:82

 

 

 

 

 

kk? ; ‘} F 3 _ 7 “|G if
DAA. UF Ar Se

Mr. Tony Marrane, as Beneficiary of
The Marrone Family 2007-1 trrewocable Life Insurance Tusi-2
234 S. Bentley Ave :
Los Angeles, CA 90049

July 32, 2000

 

   

RE: The Marrone Family 2007-1 irrevocable Life insurance n ot Trust fthne “Treat oe a ins
Dear Mr. Marrone: wt ie 2

Enciosed please find the mahaity notice eae Sram Tegpesie Sea ‘Geto, Luc
(“Imperial”), the lender that financed the premium ae nad ne Vliom ‘Marner Poan
aJF 5365795 (the “Policy Loan”) owned by the Trust, pos ; Le ;

 

The Trust does not have the. asscts available to cor ey a ena Te
there are. several options available to you at. this point. ~

 

imperial may be wiling ws sefinamse:thihaiiacag cams apes as
refinance would result in additional ithaca ip ties ea ae ee
' documents to complete the additional advance.

   

If you do not wish to have the rst borrow fread, you my pve te mmr nd
to the Trust to pay the Prrcarianns to katy: dacs ilicy Saageoceanae RSS naa *

 

As another option, the Trust, on: your diseetion saasy-iavestiguacanidavcihiest*ilbiestipy-onahactiog : et
teputable licensed third-party life settlement brokers to solicit ‘beds. ‘Please acer thet:as aeemeccecon be :
given that.the policy may ever be-sold.or, if sold, bow much may beresiond.

If you do not direct the Trust to refinance the loan, amd if theiioam és:mot,pasil-eff by ins -menter=ty
date, whether by you or Veith the prescedaol-e ste, Sagpanshaliasces gaat yenny

We must notify Imperial of the course of action:denided ‘epom within te mexs thiany-(30) cabentix
days. if we do not hear from you in writing by that time, we-will) eC eee
over to them and bring 2 conclusion no the caren ea

 

Sincerely,
Bank of Utah, as Trustee

Tt Peoby—

= ame: - Arge Feotis

 
Case 2:13-cv-06368-SJO- E Document 1 Filed 08/30/13 Page 53 of 71 Page ID #:83

 

eee IMPERIAL

 

 

  

~ Tony Marrone. .
\. 224-8 Bentley Ave.
‘Los Angeles, CA ‘90049

Bank of Utah — es o oe Ae ge oe conte Y peg SS %
200 East South Temple, Ste.210 ee Bt he tb 2 ae
Salt Lake City, UT 84111 Wage de EM As ie ak aR BEd

 

   
  
 

‘Re; The Marrone Family 20074 mevecs

Ladies and Gentlemen: ae

 
  
  
   
  

Jefferson Pilot Life Insurance: Comper Biman wen be: re SES 7S Rater”

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Note”) and-an Assignment-of LifeInsurance Palicy;

Assignment”), 2 eOBY of cach-attached hereto. ae

  

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“became due on August 27, 2009. 'Wesare:hereby pro rd r :
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“!Srpperial Pent Fest (88 364-0775 ad oad —

the loan ‘term comes to-an-end, .

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‘Sincerely,

 

  

FA geapriilgeat ett. Hare
‘ PRA S en)

. __ Director of Servicing a oy : es os tee aes athe, :

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301 Park of Commerce Boulevard Suite 30%
od Boe Raton, FL33487

© 8, 36-/MPRE (364:6775)
“9361/995.4201 Fax

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Case 2:13-cv-06368-SJO-E Document1 Filed 08/30/13 Page 54 of 71 Page ID #:84 —

EXHIBIT E
Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 55 of 71 Page ID #:85

200 East South 7 Temple. ‘Ste.
“Salt Lake City. UT 8491

enclosed agreement as soon as possible in order tp competitor

701 Park of Commerce Boulevard, Sume 30

Bota Rator

BEE 36 1MPRL (364.6775)
561.995.4270

‘Bank of Utah :

‘Dear Ladies

Smeerely yo

‘Marshall Georges

 

 

Veneice Marrons
224 South Bentley Avenue
Los Angeles CA 9D04¢

  

Tony Marrone . eli
224 South Bentiey Avenus:
Los Angeles. CA 90049

 

 

Trust Services.

 

ha.

 

 
  

RE: The Marrone Eamily

 

and Gentlemen:

      

Family 3007-1  penahe| Life Te eae Pre  Seaprocunkcuabeeune

 

signed please mein the executed documenttp the Scvvagg Deperemeen at ieeeeras
Premium Finance, 701 Park of Commerce Boulevard. Suse 301, Rocniisinn Fieri

33487. Please note that since Mis Marrone setwes es: 2 Ca Trem op veel oo
Beneficiary he will need to sign m rwo oes ee ee

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4 /
S of i
“TAA f fi UF
ttf bgp ;
l4de eS SF
AWA nl ~

Director af § Servicing

FL 32487

 

cee IMPERIAL

   
Case 2:13-cv-06368-SJO-E Document1 Filed 08/30/13 Page 56 of 71 Page ID #:86

 

AGREEMENT TO VOLURTARILY RELINQUISE INTEREST

This Agreement to Voiumtarity Kelmmeumek ipcerest ( “Agresmenc™) i: cuersd em ar
of August 24, 2009 (the “Effecnvse Dats”) by anc berween Veneto: Marrone (ie: “imemec™),
Tony Marrone (the “Beneficiaryiies}”), Tony Micron: and Bepi of Urek, Co-TremeciGc—
Trustees] (collectively, the “ Trusize”) of F The Menraue Faniiby 2007-f nrrvocatiie: Ete. ar sre:

Trusi-2 (the “Trust”) and impenal Premium Finance, LLC, 2 Fronds imiesd inebiiey <
Hagen REIL CSIR SE et eee eee el eee Rice
Bivd, Ste. 301, Boce Raton, FL 33487 (the “Lender™} (maivicmaliy 2 “Perry” enih ocactonily
the “Parties”. ee <= ,
Lose Application & Agreement. . ee

WHEREAS, ui nl asks spe Se es ees is aaa eee =
and that certain Promissory Note, dered as of Febrmmry 26, 2008 (colgectively, te: “Lom =>
Agreement”), as well as related documenss (te: “Loan Docmmens”), whereby Lanter eget
See Oe ae ee mee
-iife of the Insured (the “Foiicy”).. pu oes : oe

WHEREAS, the insured, Trust’ and ‘Remeticiaryficn) ewe cfm scaly
surrender, transfer, convey and 2ssign absolueeiy all right, wiic, mesres!, end fencfir im te Pome
eS ee
Documents;

 

        

  

      

WHEREAS, the Trustee, insured and Sei cash east peices ees srepcatiic:
with the obligations of the Trust under th: Lom Docemess te Trt, eet
Heneficiary(ies) had the option to satisfy the obligmions unde: te: Loan Ageeemem &r (1)}.".
paying off the foan from « source of their choice and commmuing t own tes Poiscy: ar (2) ccf =~
the Policy to an independent third party. However, the Tresec, meured end Bemefeceryies) |
Sens ea He nee ee ee ee
So aaa En abi geinns cae ear en Da. * a rece

  

 

“WHEREAS, Lender is wilking in's:Snpl owmiigp of the’ ois in exthanige So seeum
aft rrr pe PN ase OR Tn HR pe
obligation tc pay pursuant to any releeed spencemty 26 Fanta: sot Teeth Semcon < tS

herein ;
Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 57 of 71 Page ID #:87

 

NOW, THEREFORE, im consideration of the foregoing tee Pures agree ar inliow::

Tne Insured, the Hensficiaryiies) and the Truste: represent ami warren! w te: Lemie

4
4ue

(i) all representations made in the Loam Document and signed by ter: remecoe
Parties remain true, complet+ and carrest, .

(ii) neither the Trust, insured nor Bensiiciary(ies) nave cones! mr mace from, ar
other party of any maccurat: statement oc misremesscnemtion. oc wioksinen of tem
or condition, contained in the appiicanon mad: by the insured for tee Pots or ey
violation of any term, comdifien ot provision of the Policy, meciniig wiicom ~
limitation, any notice of a rescission ar cancellation of tne. Paitiry, spe =“
Policy; and

(ii) hese ‘ia vas hccriei juukneesad ata iat ch “Sera acing EIS
proceeding or proceedine before oc by any commminion, gummy oc ofr
administrative or reguimtory body or amthestty remdime, or eo tee iceremtedi: of er:
Trust, Insured or Heneftcizry(tes) thremencd, 19 which the Trost or the Teemex 4
party or to which the Policy is subpect or wich could bewe ee: echeerer effect om fier.
Policy, and thers is no basis for amy other clam, itigeiae or presmeiams =.

(iv) there is no Investigation by any commission, agemcy or other ehccetenmies oo
regulatory body or authoriry pence. or to te imowiedwe: of ter Trust oc Trem Be
Insured or Beneficiary(iss) eeeeent. woh & plates 20. in core im: in
any basis fe Sor ahy snc Snnwestegacaont oe ne

= In consideration of the foregome the more! en : Bearicinyie) 8 fi one ad a
warrant tc Lender the following: S = oes

 

  

(a) te sre aad Bemnicsryte) cope! a He nel come
to perform the relinquisnment consempined hensss-. * : ae

(b} the insured and Bensftcumryiies) ned tie cppormmmty eo commit ‘iit ind Gioia .
advice and assistance from icgel, finenciel, aewaec= end tox peotemtonais, and
to be represented by ) Sone (pick to ad ma toe aaceticer off Eek. geet,
and

(c) the Insured and Beneficiaryises) nmve enueored ma this Agremms: frosty ani
a a - a

 

3, Foliowing *xecution of this Agrees tk “Trmstes ‘ull execs sack doce.
including a change of ownership form, a3 mary be meceasery wm comvey bege! ond perc!) |.
ownership of the Policy to the Lender ov its dememes and deiiwer sock Socormeit @ the Lome
promptly upon reques Notwithstanding the foregomme, the Trustee em! tte: Lemnfie eggee Went ac.
a condition to the effectivencss of this Agreemem, tee Tramec agrest w mokd recor, bet ox
beneficial, ttle to the Policy unt! Lender notifies tee Tress ip write es 2 Geek of oo! “*
ownership. During that ime period, m the Lenter’s soke decree, th: Foscy sell ati i=
offered for sale, assigned or held on behali of the Lemder Dy tee Trem op secoed oem, onl
directed by Lender in writmg (ther teen bang fie record owmer, tet Tmeseesis) sel oe
exercise any incidences of ownership over ti: Policy sheen! te comes: erie coment of de
Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 58 of 71 Page ID #:88

Lende: and shal! continus to hold the Policy ire and clear of any lien of encumbeancs. Withm
‘three (3) business days of the recei of 2 written request rom the Lender, the Trem agrees io
ee ane Ee
be heid in Trust unti! such ame as Lender directs. .

4. Wie te Insured and the Beneficiary) heey agree to rsh te Tra of
interes! m the Trust and the Policy m exchane= for 2 relexss of any finascis’ obhgunas they meey
berae had in relation’ to’ the Tne Auscun etl Tice’ Tkociansets: the hanced ist: BenbibocardiGes) oo
understand al! other obiigations (i.¢., repressamtions and warranties and Gciesocc: fe ay
breach thereof) Sr eee OE a ne a .
full force and effect. ms

5. Tho Tomured suit Piece sates nail ek pf sl
each's execution of this Agreement, cach of the insured and Beneiicaary (rca) re rcimgeee
any and al! right and claim to any proceeds that could be derived from or deromgh dee Pod oo
regardless of the sources, including. but not limited to, foe te le pes cana ae ae =
Palco from pence aimee See's aes ene Seer ee Sane. eee

6. in addition, the —— and the Reneficiarytics), ssidetiheals, ici arg ak vie we
_and covenant not to sue or bring any legal action ages: the Lender or amy =iiieroemd ager tm
not raise any defenees with regerd two any ections oaken by the Leecer or ey CSS os
permitted hereunder, including, tut not limited mp, 2 release of clemm to amy procesds seated
the Policy irom whatever source, again including, but not imined, from the amit, ames or
holding of she Policy or from pracesds siaigg irene death benelit-teaee ae Padieg, any s

 

  

 

7. The Incured snel:shetasalnreec 6a id Ged Space eae ee
al! health and medical information requested by Lends: sbouwt the imsered, amc! the imeed an!
Beneficiaries have not altered, changed of withheld amy Peeth and omic! Gees
requested by Lender about the Insured or fmbed w discioes the mame of amy dncec. preys
-hospital or other health care provider or incaliny thet ‘hen any beak snd matical. saa ee
requesied by Lender about the ‘Insured. ee i o ce a

8. The Insured and the ensiiciery(Gi) gets’ sauna’ > sibapeamne th Leo aad

execute all documents requested in connection with securing Ine Lemsder’s meres m thee Pokcr.

including but not iimied to: (i) the insured shall comime: © orowids afl undeted eee; oo
information when and as requested; and (ii) the Insured and the Bemeftciary{ses) sinelli cue oF. Es
documents relating to the sale of the Policy en ay Se er a et aes oS ee
written request for execution from Lender. . : .

g, in addition, the insured, the Trust and the Beneitciaryiies} cir cigpn Sic*aiisindeg ail
all enplicabie notice OF UMeTEMs TeqUITEINENTS WHE FESDSS! RO Ete Pel RIMNRSEE or any SST
taken by the Lender hereunder.
Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 59 of 71 Page ID #:89

16. The insured, the Beneficiaryiies) end the Trust understand end ecknowiede= thet « Gir
to i hy the Insured, the Beneficiary(ies) or the Trust or any party hereunder sieell be a
breach of this Agreement pursuant to which they agree to comsent i pmicment ant echeometete:
that the Lender shall be permitted to pursue any and all egal anc equirebic remedees und ti
Agreement and the underiving Loan Document.

mw. +f sy Jsscesercieses stl “e cesemeteit iliggceenangl tn ceilaging ‘mill te Slasees i iWnle .

of Florida, without regard to conflict of laws prmemées. The lesured (5), the Bewefecmry ines)

and the Trust agree that the Circuit Court of the Fifteenth Judicag! Cocun in end mr Pum Beect

County, Floridz shall have exclusive furisdicion to bee and Gstenmmme apy ches of despa:

between the parties arising out of or reiewed to thts Agreement, unless federni smectic &

availabie, in which case the Southem Disuict of Fionde, West Pain Beach Divamos. deaf beer

exciusive jurisdiction to dewsrnmine sy clams of drspuess emsimg ov of of ret © So.

Agreement. The Insured (s), the Beneficiary (ies) and the Trost exoreesiy sabe aad come =

advance te such jurisdiction in any ecuon or suk commenced m such court, and cack marty Ses:

waives any objection that it may have besed upon beck of personel jurisdiction, mmeroper vemes cr

yorum non cornveniens. IN THE EVENT OF ANY LITIGATION PROCEEDINGS ASD TL

THE EXTENT PERMITTED BY LAW, EACH OF THE PARTHES =2e52) °° oe
KNOWINGLY AND WILLINGLY WAIVES AND SURRENDERS SUCH PARTY'S ope
RIGHT TO TRIAL BY JURY AND AGREES THAT SUCH LITEGATION SHALL BE... ogee
TREO TS AIDE SECT alee oe ee ee é

IN A BENCH TRIAL, WITHOUT A JURY. ae .

IN WITNESS WHEREOF, he paris hve ene ht em fie =
dats specified above. se

 

 

 

 

 

 

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Case 2:13-cv-06368-SJO-E Document1 Filed 08/30/13 Page 60 of 71 Page ID #:90

 

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Case 2:13-cv-06368-SJO-E Document1 Filed 08/30/13 Page 61 o0f 71 Page ID #:91

EXHIBIT F
Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 62.of 71 Page ID #:92

The: Lincoln ‘National Life insurance
Company

100 N. Greene Street

P.O. Bex 21008

Greensboro, NC 27420

 

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an _ sequested information on a ie msurance policy that insures your life. A viatical
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oy Sithe rights to collect the death benefit.

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‘pertamung ‘to ts » ~welbcalcr le setiiement transaction, please contact Lincoln
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Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 63 of 71 Page ID #:93

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

CASE NUMBER
Tony Marrone, et al; CV13-6368-SJO(EX)
PLAINTIFF(S)
Vv.
tmperial Holdi I NOTICE TO PARTIES OF
mperial Holdings, et als COURT-DIRECTED ADR PROGRAM
DEFENDANT(S)

 

NOTICE TO PARTIES:

It is the policy of this Court to encourage settlement of civil litigation when such is in the best
interest of the parties. The Court favors any reasonable means, including alternative dispute resolution
(ADR), to accomplish this goal. See Civil L-R. 16-15. Unless exempted by the trial judge, parties in all
civil cases must participate in an ADR process before trial. See Civil L-R. 16-15.1.

The district judge to whom the above-referenced case has been assigned is participating in an
ADR Program that presumptively directs this case to either the Court Mediation Panel or to private
mediation. See General Order No. 11-10, §5. For more information about the Mediation Panel, visit
the Court website, www.cacd.uscourts.gov, under "ADR."

Pursuant to Civil L.R. 26-1(c), counsel are directed to furnish and discuss with their clients the
attached ADR Notice To Parties before the conference of the parties mandated by Fed.R.Civ.P. 26(f).
Based upon the consultation with their clients and discussion with opposing counsel, counsel must
indicate the following in their Joint 26(f) Report: 1) whether the case is best suited for mediation with a
neutral from the Court Mediation Panel or private mediation; and 2) when the mediation should
occur. See Civil L.R. 26-1(c).

At the initial scheduling conference, counsel should be fully prepared to discuss their preference
for referral to the Court Mediation Panel or to private mediation and when the mediation should
occur. The Court will enter an Order/Referral to ADR at or around the time of the scheduling
conference.

Clerk, U. S. District Court

August 30, 2013 By GC. Sawyer
Date Deputy Clerk

 

 

ADR-08 (05/13) NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM
Case 2:13-cv-06368-SJO-E Document1 Filed 08/30/13 Page 64 of 71 Page ID #:94

_ UNITED STATES DISTRICT COURT
a CENTRAL DISTRICT OF CALIFORNIA

NOTICE TO PARTIES: COURT POLICY ON SETTLEMENT
AND USE OF ALTERNATIVE DISPUTE RESOLUTION (ADR)

Counsel are required to furnish and discuss this Notice with their clients.

Despite the efforts of the courts to achieve a fair, timely and just outcome in all cases, litigation
has become an often lengthy and expensive process. For this reason, it is this Court's policy to
encourage parties to attempt to settle their disputes, whenever possible, through alternative dispute
resolution (ADR).

ADR can reduce both the time it takes to resolve a case and the costs of litigation, which can be
substantial. ADR options include mediation, arbitration (binding or non-binding), neutral evaluation
(NE), conciliation, mini-trial and fact-finding. ADR can be either Court-directed or privately
conducted.

The Court's ADR Program offers mediation through a panel of qualified and impartial attorneys
who will encourage the fair, speedy and economic resolution of civil actions. Panel Mediators each
have at least ten years of legal experience and are appointed by the Court. They volunteer their
preparation time and the first three hours of a mediation session. This is a cost-effective way for parties
to explore potential avenues of resolution.

This Court requires that counsel discuss with their clients the ADR options available and
instructs them to come prepared to discuss the parties’ choice of ADR option (settlement conference
before a magistrate judge; Court Mediation Panel; private mediation) at the initial scheduling
conference. Counsel are also required to indicate the client's choice of ADR option in advance of that
conference. See Civil L.R. 26-1(c) and Fed.R.Civ.P. 26(f).

Clients and their counsel should carefully consider the anticipated expense of litigation, the
uncertainties as to outcome, the time it will take to get to trial, the time an appeal will take if a decision
is appealed, the burdens on a client's time, and the costs and expenses of litigation in relation to the
amounts or stakes involved.

With more than 15,000 civil cases filed in the District in 2012, less than 1 percent actually went
to trial. Most cases are settled between the parties; voluntarily dismissed; resolved through Court-
directed or other forms of ADR; or dismissed by the Court as lacking in merit or for other reasons
provided by law.

For more information about the Court's ADR Program, the Mediation Panel, and the profiles of
mediators, visit the Court website, www.cacd.uscourts.gov, under "ADR."

 

ADR-08 (05/13) NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM
Case 2:13-cv-06368-SJO-E Document1 Filed 08/30/13 Page 65 of 71 Page ID #:95

“ws UNITED ~

ATES DISTRICT C

OURT, CENTRAL DISTRICT OF \LIFORNIA
CIVIL COVER SHEET

 

I. (a) PLAINTIFFS ( Check box if you are representing yourself [~] )

TONY MARRONE, as the TRUSTEE OF THE MARRONE FAMILY 2007-1 IRREVOCABLE

LIFE INSURANCE TRUST-2

DEFENDANTS

10, inclusive

( Check box if you are representing yourself [| )

IMPERIAL HOLDINGS, INC.; IMPERIAL PREMIUM FINANCE, LLC; IMPERIAL LIFE
SETTLEMENTS, LLC; PORTFOLIO FINANCIAL SERVICIG COMPANY, LLC; BANK OF
UTAH; THE LINCOLN NATIONAL LIFE INSURANCE COMPANY; and DOES 1 through

 

(b) Attorneys (Firm Name, Address and Telephone Number. If you

are representing yourself, provide same.)

David P. Beitchman SBC 198953

BEITCHMAN & ZEKIAN, P.C.

16130 Ventura Blvd., Suite 570, Encino, CA 91436
Tel. (818) 986-9100; Fax (818) 986-9119

 

(b) Attorneys (Firm Name, Address and Telephone Number. If you
are representing yourself, provide same.)

 

Il. BASIS OF JURISDICTION (Place an X in one box only.)

1. U.S. Government
Plaintiff

3. Federal Question (U.S.
Government Not a Party)

Il. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only

(Place an X in one box for plaintiff and one for defendant)

OO

2. U.S. Government
Defendant

4. Diversity (Indicate Citizenship
of Parties in Item Ili)

 

PTF DEF Incorporated or Principal Place Prr DEF
iti i <x} 1 1 t
Citizen of This State Cl of Business in this State O44
Citizen of Another State [7] 2 [7] 2 Incorporated and Principal Place
5

of Business in Another State A >
Citizen or Subject of a | .
Foreign Country E] 3 [1 3. Foreign Nation r)6« ©) 6

 

IV. ORIGIN (Place an X in one box only.) 5. Transferred from Another 6. Multi-
- . District (Specify) District
1. Original Cy 2. Removed from ‘a 3. Remanded from cr 4. Reinstated or Litigation
Proceeding State Court Appellate Court Reopened

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes [|] No
CLASS ACTION under F.R.Cv.P. 23:

[Yes No

(Check "Yes" only if demanded in complaint.)

[|] MONEY DEMANDED IN COMPLAINT: $

 

VI. CAUSE OF ACTION (cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

28

U.S.C. Section 1332(a)

 

Vil. NATURE OF SUIT (Place an X in one box only).

 

 

OTHER STATUTES CONTRACT REAL PROPERTY CONT. IMMIGRATION | PRISONER PETITIONS PROPERTY RIGHTS
[7] 375 False Claims Act fF] 110 Insurance 240 Torts to Land Q 462 Naturalization Habeas Corpus: [7] 820 Copyrights
Application f"] 463 Alien Detainee
400 State j [7] 245 Tort Product (] 830 Patent
a) Reapportionment [| 120 Marine Liability rl Wes Other A [7] 510 Motions to Vacate
igrati _
] 410 Antitrust [7] 130Miller Act |, 290 AllOther Real mmigration Actions sores | [7] 840 Trademark
[1 430 Banks and Banking |] 140 Negotiable Property TORTS C enera SOCIAL SECURITY
nec Instrument TORTS PERSONAL PROPERTY |[7] 535 Death Penalty (7) 861 HIA (139587)
450 Commerce PERSONAL INJURY [FS Other:
150 Recovery of 370 Other Fraud
LI Rates/etc, 4 ensovery FTE] ato Airplane &) 3; [1] 540 Mandamus/Other |) 862 Black Lung (923)
[] 460 Deportation Enforcement of rm 313 Airplane [7] 371 Truth in Lending [7] 550 Civil Rights 1 863 DIWC/DIWW (405 (q))
Judgment «ap
p7 470 Racketeer Influ- Product Liability 7] 380 Other Personal 555 Prison Condition | [7] 864 SSID Title XvI
enced & Corrupt Org. | ["] 151 Medicare Act 7 320 Assault, Libel & Property Damage C]
[7 480 ¢ Credit IS2R f Slander 385 Property Damage| [7] 560 Civi] Detainee [7] 865 RSI (405 (g))
onsumer Cred! ecovery o 330 Fed. E ' arty I Conditions of —
[] 490 Cable/Sat TV [7] Defaulted student | £71 [iapitity mployers' [J product Liability Confinement FEDERAL TAX SUITS
Loan (Excl. Vet.) C7] 340 Marine BANKRUPTCY FORFEITURE/PENALTY ol 870 Taxes (U.S. Plaintiff or
850 Securities/Cam- 422 Appeal 28 Defendant
Py modities/Exchange 153 Recovery of 345 Marine Product |LJ USC 158 Oy 625 Drug Related )
[] Overpayment of /[7j Liability 423 Withdrawal Seizure of Property 21 |r 871 IRS-Third Party 26 USC
890 Other Statutory Vet. Benefits q ithdrawal 28 USC 881 7609
UT Actions ry 160 Stockholders! |) 350 Motor Vehicle SeTRIGHTE
[7] 891 Agricultural Acts Suits fj 355 Motor Vehicle > _ [7] 690 Other
Product Liability f°] 440 Other Civil Rights
-- 893 Environmental 190 Other LABOR
LC Matters O Contract Cl iene Personal ["] 441 Voting J 710 Fair Labor Standards
ry aoe Freedom of Info. ry 195 Contract 7] 362, Personal Injury- f-] 442 Employment Act
c Product Liability Med Malpratice ; cy yo Labor/Mgmt.
["] 896 Arbitration . 365 Personal Injury- 443 Housing/ Relations
aor PROPER CI Product Liability C1 Accomodations [7] 740 Railway Labor Act
899 Adimin. Procedures REAL ROPERTY 367 Health Care/ 445 American with | ;
[7] Act/Review of Appeal of cy 270 Land , Pharmaceutical [] Disabilities- cy 751 Family and Medical
Agency Decision “| Condemnation Personai Injury Employment Leave Act
[7] 220 Foreclosure Product Liability ry 446 American with Cj (Re Other Labor
7] 250 Constitutionality of 230 Rent Lease & 368 Asbestos Disabilities-Other tugation
State Statutes . [1 Personal Injury [7] 448 Education Ol 791 Employee Ret. Inc.
Ejectment Product Liability Security Act

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

FOR OFFICE USE ONLY: Case Number:

yi3- 6368

AFTER COMPLETING PAGE 1 OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED ON PAGE 2.

 

CV-71 (02/13)

CIVIL COVER SHEET

Page 1 of 2
Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 66 of 71 Page ID #:96

UNITED-3fATES DISTRICT COURT, CENTRAL DIS+xICT OF CALIFORNIA

 

CIVIL COVER SHEET
Vill(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? NO fr] YES
If yes, list case number(s):
VIli(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? NO [_] YES

If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:

(Check all boxes that apply)

CT] A. Arise from the same or closely related transactions, happenings, or events; or

F | C. For other reasons would entail substantial duplication of labor if heard by different judges; or

i] D. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary}

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named

plaintiff resides.

[| Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

 

County in this District:*

California County outside of this District; State, if other than California; or Foreign
Country

 

 

Les Angeles

 

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named

defendant resides.

["] Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

 

County in this District:*

California County outside of this District; State, if other than California; or Foreign
Country

 

Delaware, Utah, Florida, Indiana

 

(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
NOTE: In land condemnation cases, use the location of the tract of land involved.

 

County in this District:*

California County outside of this District; State, if other than California; or Foreign
Country

 

 

Los Angeles

 

 

  

 

 

 

*Los Angeles, Orange, San Bernardino, Riverside, Venturz, Santa Barbar 2
Note: In land condemnation cases, use the location of the tract of land i do! vd 7

X. SIGNATURE OF ATTORNEY (OR SELF-REPRESENTED LITIGANT):

   
 

 

DATE: __ fries Zo 13

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet).

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code

861

862

863

863

864

865

CV-71 (02/13)

Abbreviation

HIA

BL

DIWC

DIWW

SSID

RSI

Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc,, for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended.

All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g))

CIVIL COVER SHEET Page 2 of 2
Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 67 of 71 Page ID #:97

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES

This case has been assigned to District Judge S. James Otero and the assigned
Magistrate Judge is Charles F, Eick

 

 

The case number on all documents filed with the Court should read as follows:

CV13-6368-SJO(Ex)

 

Pursuant to General Order 05-07 of the United States District Court for the Central District of

California, the Magistrate Judge has been designated to hear discovery related motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge.

Clerk, U. S. District Court

 

 

 

August 30, 2013 By C. Sawyer
Date Deputy Clerk
NOTICE TO COUNSEL

A copy of this notice must be served with the sammons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

Western Division [-] Southern Division {| Eastern Division
312.N. Spring Street, G-8 411 West Fourth St., Ste 1053 3470 Twelfth Street, Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (08/13) NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES
Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 68 of 71 Page ID #:98

‘Name & Address: David P. Benenman, SBN198953
Beitchman & Zekian, P.C.

16130 Ventura Blvd Ste 570, Encino CA 91436

Tel. (818)986-9100 Facsimile (818) 986-9119
dbeitchman@bzlegal.com

Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Tony Marrone, as the Trustee of the Marrone Family | case NUMBER

2007-1 Irrevocable Life Insurance Trust -2 |
PLAINTIFF(S) C V 1 4 o= 6 3 6 8 STO (é “)

Imperial Holdings, Inc.; Imperial Premium Finance,
LLC; Imperial Life Settlements, LLC; See attachment

Vv.

 

SUMMONS

DEFENDANT(S).

 

 

TO: DEFENDANT(S):

A lawsuit has been filed against you.

Within 2! days after service of this summons on you (not counting the day you received it), you

 

 

must serve on the plaintiff an answer to the attached lM complaint O amended complaint

[J counterclaim O cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff's attorney, David P. Beitchman , whose address is
Beitchman & Zekian, P.C., 16130 Ventura Blvd Ste 570, Encino CA 91436 . If you fail to do so,

 

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

 
   
 

Clerk, U.S. District Court

Dated: ia —— [< By
oD

 

Deputy Clerk

(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States, Allowed
60 days by Rule 12(a)(3)].

 

CV-O1A (10/11 SUMMONS
Case 2:13-cv-06368-SJO-E Document1 Filed 08/30/13 Page 69 of 71 Page ID #:99

Attachment to Summons
Additional Defendants:

PORTFOLIO FINANCIAL SERVICING COMPANY, LLC; BANK OF UTAH; THE LINCOLN NATIONAL LIFE
INSURANCE COMPANY; and DOES 1 through 10, inclusive
at . Case 2:13-cv-06368-SJO-E Document 1 Filed 08/30/13 Page 70 of 71 Page ID #:100

~ Name & Address: David P. Beitchman, SBN198953
Beitchman & Zekian, P.C.
16130 Ventura Blvd Ste 570, Encino CA 91436
Tel. (818)986-9100 Facsimile (818) 986-9119
dbeitchman@pbzlegal.com
Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Tony Marrone, as the Trustee of the Marrone Family | case NUMBER

2007-1 Irrevocable Life Insurance Trust -2 .
CV13- 6368 Sw (&)

PLAINTIFF(S)
Vv.

 

Imperial Holdings, Inc.; Imperial Premium Finance,

-LLC; Imperial Life Settlements, LLC; See attachment ;
SUMMONS

DEFENDANTV(S).

 

 

TO: DEFENDANT(S):

A lawsuit has been filed against you.

Within 2! days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached mf complaint O amended complaint
CJ counterclaim O cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiffs attorney, David P. Beitchman. , whose address is
Beitchman & Zekian, P.C., 16130 Ventura Blvd Ste 570, Encino CA 91436 . If you fail to do so,
judgment by default will be entered against you for the relief demanded in the complaint. You also must file

your answer or motion with the court.

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Dated: a, By: clRIR SHAVER bk

Deputy, “Chere gt

Clerk, U.S. District Gétirt

  

 

(Seal of the Cutirt)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

 

CV-01A (10/11 : SUMMONS
f _. Case 2:13-cv-06368-SJO-E Document1 Filed 08/30/13 Page 71 of 71 Page ID #:101

Attachment to Summons

Additional Defendants:

_ PORTFOLIO FINANCIAL SERVICING COMPANY, LLC; BANK OF UTAH; THE LINCOLN NATIONAL LIFE
INSURANCE COMPANY; and DOES 1 through 10, inclusive
